Case 0:10-cv-62431-WJZ Document 11 Entered on FLSD Docket 03/01/2011 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                          Case No.: 10-62431-Civ-Zloch/Rosenbaum

  KATHERINE W. YOUNG,

         Plaintiff,
  v.

  CENTRAL CREDIT SERVICES, INC.,

       Defendant.
  _________________________________________/

                        NOTICE OF PENDING SETTLEMENT

         Plaintiff, Katherine W. Young, submits this Notice of Pending Settlement and

  states that the parties have reached a settlement with regard to this case and are presently

  drafting, finalizing, and executing the settlement and dismissal documents. Upon

  execution of the same, the parties will file a notice of dismissal with the Court.




                                             Respectfully submitted,

                                             DONALD A. YARBROUGH, ESQ.
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                                             s/Donald A. Yarbrough
                                             Donald A. Yarbrough, Esq.
                                             Florida Bar No. 0158658
Case 0:10-cv-62431-WJZ Document 11 Entered on FLSD Docket 03/01/2011 Page 2 of 2




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  _______________________________/

                             CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on March 1, 2011, I electronically filed the foregoing
  document with the Clerk of Court using CM/ECF. I also certify that the foregoing
  document is being served this day on all counsel of record or pro se parties identified on
  the attached Service List in the manner specified, either via transmission of Notices of
  Electronic Filing generated by CM/ECF or in some other authorized manner for those
  counsel or parties who are not authorized to receive electronically Notices of Electronic
  Filing.



                                                  s/Donald A. Yarbrough
                                                  Donald A. Yarbrough, Esq.


                                     SERVICE LIST

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